[Cite as State v. Williams, 2024-Ohio-3180.]



             IN THE COURT OF APPEALS OF OHIO
                              SEVENTH APPELLATE DISTRICT
                                  MAHONING COUNTY

                                          STATE OF OHIO,

                                           Plaintiff-Appellee,

                                                   v.

                                 JOVON RAYMON WILLIAMS,

                                        Defendant-Appellant.


                        OPINION AND JUDGMENT ENTRY
                                         Case No. 24 MA 0002


                                   Criminal Appeal from the
                       Court of Common Pleas of Mahoning County, Ohio
                                    Case No. 22 CR 529

                                         BEFORE:
                   Mark A. Hanni, Carol Ann Robb, Katelyn Dickey, Judges.


                                               JUDGMENT:
                                                 Affirmed.



Atty. Gina DeGenova, Mahoning County Prosecutor, and Atty. Edward A. Czopur,
Assistant Prosecuting Attorney, Mahoning County Prosecutor's Office, for Plaintiff-
Appellee and

Atty. Wesley A. Johnston, for Defendant-Appellant.

                                        Dated: August 20, 2024
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HANNI, J.

       {¶1}   Defendant-Appellant, Jovon Raymon Williams, appeals from a Mahoning
County Court of Common Pleas judgment sentencing him to 20 months in prison for
having a weapon while under disability. The court ran this sentence consecutively to
Appellant’s sentence in another Mahoning County Common Pleas case.                Appellant
asserts that the trial court made insufficient findings to impose consecutive sentences
and this Court cannot clearly and convincingly find that the record supported findings
warranting consecutive sentences. For the following reasons, we find that the trial court
sufficiently met the requirements for imposing consecutive sentences and we affirm the
court’s judgment and sentence.
       {¶2}   On July 29, 2022, Appellant pled guilty to aggravated possession of drugs
and selling, furnishing, or giving away beer or intoxicating liquors in Mahoning County
Court of Common Pleas Case No. 2021 CR 306. The court sentenced Appellant to two
years of community control with a condition that he successfully complete the in-house
program at Community Corrections Association.
       {¶3}   On March 15, 2023, Appellant pled guilty to having a weapon while under
disability, a third-degree felony under R.C. 2923.13(A)(2)(3). The trial court accepted the
parties’ plea agreement and sentenced Appellant to six months local incarceration and
three years of community control. In its entry, the court advised that if Appellant violated
community control, the community control period could be extended, he could be
sentenced to a three-year prison term, and/or he could face fines. The court ran the
sentence in this case concurrently to Appellant’s sentence in Mahoning County Court of
Common Pleas Case No. 2021 CR 306.
       {¶4}   On September 21, 2023, Appellant stipulated to probable cause for
committing a community control violation by incurring a charge of domestic violence in
Youngstown Municipal Court. Appellant stipulated to the violation on November 6, 2023,
and sentencing was scheduled for December 13, 2023.
       {¶5}   On December 15, 2023, following the community control violation hearing,
the court issued a judgment entry imposing a 20-month prison sentence. The court



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ordered that sentence to run consecutively to the previous sentence imposed in Mahoning
County Court of Common Pleas No. 2021 CR 306. The court issued findings for its
decision.
       {¶6}   On January 4, 2024, Appellant filed a notice of appeal.          In his sole
assignment of error, Appellant asserts:

       THE TRIAL COURT’S IMPOSITION OF CONSECUTIVE SENTENCES
       WAS IMPROPER BECAUSE THE TRIAL COURT’S FINDINGS ARE
       INSUFFICIENT AND THE APPELLATE COURT CAN CLEARLY AND
       CONVINCINGLY FIND THE RESULT DID NOT SUPPORT THE TRIAL
       COURT’S CONSECUTIVE SENTENCE FINDING. STATE V. GWYNNE,
       2023-OHIO-3851 [sic].

       {¶7}   Citing State v. Marcum, 2016-Ohio-1002, Appellant asserts that we must
affirm his sentence unless the evidence clearly and convincingly fails to support the trial
court’s findings under the sentencing statute or the sentence is otherwise contrary to law.
He contends that the trial court failed to make the necessary findings required by R.C.
2929.14(C) at the sentencing hearing and in its sentencing entry. He further argues that
the transcript of the sentencing hearing failed to clearly demonstrate that the trial court
performed the proper analysis when it imposed consecutive sentences.
       {¶8}   Appellant quotes R.C. 2929.14(C)(4), which outlines the circumstances
under which a court may impose a consecutive sentence on an offender who commits
multiple offenses. He notes that a court may do so when it is necessary to protect the
public from future crimes or to punish the offender, and it is not disproportionate to the
seriousness of the offender’s conduct and to the danger he poses to the public. Appellant
asserts that the court must also make one of three additional findings: the offender
committed offenses while awaiting trial, sentencing, or while on post-release control; the
harm was so great or unusual that a single prison term would not adequately reflect the
seriousness of the crime; or the offender’s criminal conduct history requires consecutive
sentences to protect the public from future crimes. R.C. 2929.14(C)(4)(a-c).
       {¶9}   Appellant contends that his criminal conduct history is not violent. He notes
that case number 2021 CR 306 involved an aggravated drug possession charge with a



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capias issued because he failed to appear. He also cites his 2010 juvenile record for
aggravated robbery, and his only other conviction for a misdemeanor attempted breaking
and entering.
       {¶10} Appellant also asserts that the trial court failed to indicate that it considered
R.C. 2929.11(A), which requires a sentencing court to be guided by the overriding
purposes of felony sentencing. Those purposes are to protect the public from future
crime, to punish the offender, and to promote the effective rehabilitation of the offender
while using minimum sanctions. The statute further requires the court to consider the
need to incapacitate the offender, deterring the offender and others from committing
future crimes, rehabilitating the offender, and making restitution.        R.C. 2929.11(A).
Appellant contends that the trial court failed to indicate that it considered these
requirements.
       {¶11} In addition, Appellant asserts that the trial court failed to consider R.C.
2929.12(B) and R.C. 2929.12(C), which outline the factors a court must consider in felony
sentencing. The court must consider the R.C. 2929.12(B) factors in determining if an
offender’s conduct is more serious than conduct which normally comprises the charged
offense. The factors in R.C. 2929.12(C) concern whether the offender’s conduct is less
serious than the conduct normally constituting the charged offense.           Appellant also
asserts that the court failed to state at sentencing whether it considered R.C. 2929.12(D),
(E), and (F), the factors a court must consider concerning the offender’s likelihood of
recidivism.
       {¶12} Appellee counters that the record supports the trial court’s consecutive
sentences. Appellee relies on State v. Whitfield, 2022-Ohio-4819, ¶ 10 (7th Dist.), quoting
State v. Pendland, 2021-Ohio-1313, ¶ 41 (7th Dist.):

                A sentence is considered to be clearly and convincingly contrary to
       law if it falls outside of the statutory range for the particular degree of
       offense; if the trial court failed to properly consider the purposes and
       principles of felony sentencing as enumerated in R.C. 2929.11 and the
       seriousness and recidivism factors set forth in R.C. 2929.12; or if the trial
       court orders consecutive sentences and does not make the necessary
       consecutive sentence findings.


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       {¶13} Appellee also cites State v. Gwynne, 2023-Ohio-3851, where the Ohio
Supreme Court held that a de novo standard of appellate review does not apply to a trial
court’s consecutive-sentence findings because it is contrary to the language of R.C.
2953.08. R.C. 2953.08 provides that the appellate standard is not abuse of discretion
and clarified the clear and convincing or contrary to law standard. Applying the latter
standard, Appellee submits that we cannot clearly and convincingly find that the trial
court’s imposition of consecutive sentences were without support in the record or
otherwise contrary to law.
       {¶14} Appellee contends that the trial court granted Appellant two opportunities
by imposing community control, and these opportunities were revoked because he
committed additional criminal conduct.
       {¶15} Appellant’s sole assignment of error lacks merit.            The trial court’s
consecutive-sentencing findings are appropriate and the record in this case does not
“clearly and convincingly fail to support” those findings. Gwynne, 2023-Ohio-3851, ¶ 26.
       {¶16} The appellate standard for review on sentencing matters is not whether the
sentencing court abused its discretion. R.C. 2953.08(G)(2). Rather, when reviewing a
felony sentence, an appellate court must affirm the sentence unless the evidence clearly
and convincingly fails to support the trial court's findings under the sentencing statutes or
the sentence is otherwise contrary to law. State v. Marcum, 2016-Ohio-1002, ¶ 1.
       {¶17} In State v. Gwynne, 2023-Ohio-3851, the Court held that an “appellate court
may not defer to the trial court's consecutive-sentence findings while at the same time
exercising an independent power of review.”         Consequently, the Court vacated its
decision in prior decision in State v. Gwynne, 2022-Ohio-4607 and held that “R.C.
2953.08(G)(2) requires an appellate court to defer to a trial court's consecutive-sentence
findings, and the trial court's findings must be upheld unless those findings are clearly
and convincingly not supported by the record.” Gwynne, 2023-Ohio-3851.
       {¶18} R.C. 2929.11 outlines the overriding purposes of felony sentencing. R.C.
2929.11(A) provides that the overriding purposes of felony sentencing are to:

       protect the public from future crime by the offender and others, to punish
       the offender, and to promote the effective rehabilitation of the offender using
       the minimum sanctions that the court determines accomplish those


Case No. 24 MA 0002
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       purposes without imposing an unnecessary burden on state or local
       government resources.

       {¶19} The statute further provides that a court accomplishes these purposes by
considering “the need for incapacitating the offender, deterring the offender and others
from future crime, rehabilitating the offender, and making restitution to the victim of the
offense, the public, or both.” R.C. 2929.11(A). The court must also impose a felony
sentence that is “reasonably calculated” to accomplish the purposes prescribed in R.C.
2929.11(A) and to do so in a manner that is “commensurate with and not demeaning to
the seriousness of the offender’s conduct and its impact on the victim, and consistent with
sentencings imposed for similar crimes committed by similar offenders.” R.C. 2929.11(B).
       {¶20} R.C. 2929.12(B) and (C) outline factors that a court must consider in
determining whether the offender’s conduct is more serious or less serious than conduct
that normally constitutes the offense. R.C. 2929.12(D) and (E) require the trial court to
consider specified factors to determine whether the offender is likely to reoffend. These
factors include whether at the time of the committed offense, the offender was under
community control and whether the offender was previously adjudicated a delinquent
child. R.C. 2929.12(D)(1).
       {¶21} As to consecutive sentences, R.C. 2929.14(C)(4) provides that:

       (4) If multiple prison terms are imposed on an offender for convictions of
       multiple offenses, the court may require the offender to serve the prison
       terms consecutively if the court finds that the consecutive service is
       necessary to protect the public from future crime or to punish the offender
       and that consecutive sentences are not disproportionate to the seriousness
       of the offender's conduct and to the danger the offender poses to the public,
       and if the court also finds any of the following:

              (a)    The offender committed one or more of the multiple offenses
       while the offender was awaiting trial or sentencing, was under a sanction
       imposed pursuant to section 2929.16, 2929.17, or 2929.18 of the Revised
       Code, or was under post-release control for a prior offense.




Case No. 24 MA 0002
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              (b)    At least two of the multiple offenses were committed as part
       of one or more courses of conduct, and the harm caused by two or more of
       the multiple offenses so committed was so great or unusual that no single
       prison term for any of the offenses committed as part of any of the courses
       of conduct adequately reflects the seriousness of the offender's conduct.

              (c)    The offender's history of criminal conduct demonstrates that
       consecutive sentences are necessary to protect the public from future crime
       by the offender.

       {¶22} The trial court addressed R.C. 2929.11, 2929.12 and 2929.14(C)(4) at the
December 13, 2023 sentencing hearing and in its December 15, 2023 judgment entry. At
the hearing, the court explained that it had weighed the purposes and principles of
sentencing, which included protecting the public from future crime by Appellant and
punishing him by using the minimum sanctions that would accomplish those purposes
without undue burden on state resources. (Tr. at 7-8). The court further indicated that it
had considered incarceration, deterrence, and rehabilitation. (Tr. at 8). The court also
found that Appellant was not amenable to community control and not imposing a prison
sentence would demean the seriousness of his conduct and actions on the community.
(Tr. at 8). These findings satisfy R.C. 2929.11.
       {¶23} The court also reasoned at the hearing that it had shown Appellant leniency
when it granted Appellant six months of local incarceration and community control upon
his guilty plea to having a weapon while under disability. (Tr. at 6). The court noted that
despite this leniency of allowing Appellant to be in the community, he nevertheless
committed domestic violence and violated his community control sanction. (Tr. at 7-8).
This demonstrates that the trial court considered R.C. 2929.12.
       {¶24} The court further explained at the sentencing hearing that Appellant had
incurred numerous violations of the law, including possession of drugs, unprosecuted
domestic violence, and having a gun. (Tr. at 6-7). The court again noted that Appellant
was under community control and it had been lenient until Appellant violated the law and
showed that his conduct was part of a pattern. (Tr. at 6-7). The court concluded that it
would not wait for someone to get hurt or for Appellant to commit even more serious



Case No. 24 MA 0002
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criminal conduct. (Tr. at 6-7). The court stated at the hearing that it considered the
seriousness of Appellant’s conduct and his criminal history.          (Tr. at 6, 10).    R.C.
2929.12(B) identifies the offender’s past criminal conduct and committing an offense while
on community control as factors for the court to consider. Thus, the court considered the
relevant statutes that Appellant complains it did not consider.
       {¶25} The court’s December 15, 2023 judgment entry also demonstrates that it
had considered R.C. 2929.11, 2929.12, and 2929.14. The court specifically stated that it
had considered the principles and purposes of sentencing as outlined in those statutes.
The court explained that consecutive sentences were necessary to protect the public from
Appellant’s future crimes and to punish him. The court found that consecutive sentences
were not disproportionate to the seriousness of Appellant’s conduct and to the danger he
posed to the public. The court additionally found that Appellant’s offenses were part of a
course of conduct that no single prison term imposed for any of the committed offenses
in that pattern of conduct would adequately reflect the seriousness of Appellant’s conduct.
The court also noted that Appellant had committed more than one offense in the case.
The court also specifically indicated in its judgment entry that it considered the
seriousness and recidivism factors identified in R.C. 2929.12.
       {¶26} In addition, the court found at both the sentencing hearing and in its
judgment entry that Appellant was not amenable to community control as he was currently
before the court for violating community control. (Tr. at 8). The court further found that
Appellant’s offenses were part of a course of conduct for which no single term of prison
for any of the offenses was sufficient to reflect the seriousness of his conduct. (Tr. at 10).
Each of these findings are reflected in R.C. 2929.14(C)(4)(a). The court also discussed
Appellant’s history of criminal conduct and held that this history demonstrated that
consecutive sentences were necessary to protect the public from future crime from
Appellant. (Tr. at 10). These findings establish that the trial court considered the statutes
Appellant asserts it did not consider in imposing consecutive sentences.




Case No. 24 MA 0002
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      {¶27} Accordingly, Appellant’s sole assignment of error lacks merit and is
overruled. We hold that the trial court’s findings at the sentencing hearing and in its
sentencing entry suffice to meet the legal requirements for imposing consecutive
sentences. The trial court’s judgment is hereby affirmed.

Robb, P.J., concurs.

Dickey, J., concurs.




Case No. 24 MA 0002
[Cite as State v. Williams, 2024-Ohio-3180.]




        For the reasons stated in the Opinion rendered herein, the assignment of error is
overruled and it is the final judgment and order of this Court that the judgment of the Court
of Common Pleas of Mahoning County, Ohio, is affirmed. Costs to be waived.
        A certified copy of this opinion and judgment entry shall constitute the mandate in
this case pursuant to Rule 27 of the Rules of Appellate Procedure. It is ordered that a
certified copy be sent by the clerk to the trial court to carry this judgment into execution.




                                        NOTICE TO COUNSEL

        This document constitutes a final judgment entry.
